     Case 2:93-cv-00254-DAD-DB Document 572 Filed 07/01/24 Page 1 of 2


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 8                                  UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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11       LARRY ROBERTS,                                  No. 2:93-cv-00254-DAD-DB (HC) (DP)
12                        Petitioner,
13             v.                                        ORDER GRANTING PETITION FOR WRIT
                                                         OF HABEAS CORPUS
14       JEFF LYNCH, Warden of the California
         State Prison at Sacramento,1                    (Doc. No. 571)
15
                          Respondent.
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18            On October 28, 2022, this court conditionally granted petitioner’s application for a writ of

19   habeas corpus. (Doc. No. 569.) Petitioner’s conviction for the murder of Charles Gardner would

20   be vacated unless the state commenced a new trial within a reasonable time. (Id. at 199.) The

21   state has now informed the court that it will not retry petitioner. (Doc. No. 571 at 1–2.) The state

22   therefore requests that the court to issue the writ and vacate petitioner’s conviction for the murder

23   of Charles Gardner. (Id.)

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26   /////

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     1
       Pursuant to Federal Rule of Civil Procedure 25(d), Jeff Lynch, Warden of Sacramento State
28   Prison, shall be substituted as Respondent.
                                                     1
     Case 2:93-cv-00254-DAD-DB Document 572 Filed 07/01/24 Page 2 of 2


 1            Accordingly, and for the reasons set forth in the court’s October 28, 2022 order, this court

 2   grants petitioner’s application for a writ of habeas corpus. Petitioner’s conviction for the murder

 3   of Charles Gardner is vacated. The Clerk of the Court is directed to close this case.

 4            IT IS SO ORDERED.
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     Dated:     June 29, 2024
 6                                                       DALE A. DROZD
                                                         UNITED STATES DISTRICT JUDGE
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